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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


    ALEJANDRO MENOCAL,
    MARCOS BRAMBILA,                                        Civil No. 1:14-cv-02887-JLK
    GRISEL XAHUENTITLA,
    HUGO HERNANDEZ,
    LOURDES ARGUETA,
    JESUS GAYTAN,
    OLGA ALEXAKLINA,
    DAGOBERTO VIZGUERRA, and DEMETRIO
    VALERGA
    on their own behalf and on behalf of all others
    similarly situated,
                                 Plaintiffs,

              v.

    THE GEO GROUP, INC.,

                                     Defendant.


              DECLARATION OF JUNO TURNER IN SUPPORT OF PLAINTIFFS’
                              MOTION TO COMPEL

         I, Juno Turner, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

         1.        I am a partner at Outten & Golden LLP, which, together with Towards Justice, the

 Law Office of R. Andrew Free, Milstein Law Office, The Kelman Buescher Firm, P.C., and

 Meyer Law Office, P.C., are Plaintiffs’ and Class Counsel herein. I am an attorney in good

 standing admitted to practice in the State of New York and before this Court.

         2.        I have been one of the lawyers primarily responsible for the prosecution of

 Plaintiffs’ and the Class’s claims in this case.

         3.        I make the statements in this Declaration based on my personal knowledge and

 would so testify if called as a witness at trial.
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 Exhibits

        4.        Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ First Set of

 Discovery Requests to Defendant, which was served on GEO on July 31, 2015.

        5.        Attached hereto as Exhibit B is a true and correct copy of GEO’s Responses to

 Plaintiffs’ First Set of Interrogatories, Requests for Admissions, Requests for Production of

 Documents, and Request for Inspection, which were served on Plaintiffs on September 23, 2015.

        6.        Attached hereto as Exhibit C is a true and correct copy of GEO’s First

 Supplemental Responses to Plaintiffs’ First Set of Interrogatories and Requests for Production of

 Documents, which were served on Plaintiffs on February 26, 2016.

        7.        Attached hereto as Exhibit D is a true and correct copy of GEO’s Second

 Supplemental Responses to Plaintiffs’ Written Discovery, which were served on Plaintiffs on

 July 21, 2017.

        8.        Attached hereto as Exhibit E is a true and correct copy of Plaintiffs’ Second Set

 of Requests for Production of Documents, which was served on GEO on September 29, 2017.

        9.        Attached hereto as Exhibit F is a true and correct copy of Plaintiffs’ Second Set

 of Interrogatories, which was served on GEO on September 29, 2017.

        10.       Attached hereto as Exhibit G is a true and correct copy of GEO’s Responses to

 Plaintiffs’ Second Set of Requests for Production, which were served on Plaintiffs on November

 13, 2017.

        11.       Attached hereto as Exhibit H is a true and correct copy of GEO’s Responses to

 Plaintiffs’ Second Set of Interrogatories, which were served on Plaintiffs on November 13, 2017.




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        12.     Attached hereto as Exhibit I is a true and correct copy of GEO’s Responses and

 Objections to Plaintiffs’ Third Set of Requests for Production of Documents, which were served

 on Plaintiffs on February 6, 2019.

        13.     Attached hereto as Exhibit J is a true and correct copy of GEO’s Responses and

 Objections to Plaintiffs’ Third Set of Interrogatories, which were served on Plaintiffs on

 February 6, 2019.

        14.     Attached hereto as Exhibit K is a true and correct copy of a letter dated January

 28, 2019 from Naomi Beer to Juno Turner and Elizabeth Stork regarding Plaintiffs’ First and

 Second Sets of Requests for Production of Documents and Interrogatories.

        15.         Attached hereto as Exhibit L is a true and correct copy of a letter dated March 4,

 2019 from Naomi Beer to Juno Turner and Elizabeth Stork regarding ICE review of documents

 and Plaintiffs’ First and Second Sets of Requests for Production of Documents and

 Interrogatories.

        16.     Attached hereto as Exhibit M is a true and correct copy of a letter dated August

 28, 2018 from Timothy B. Jafek to Alexander Neville Hood and Charlie A. Deacon regarding the

 parties’ proposed stipulated protective order. Following receipt of this letter, Plaintiffs acted in

 good faith to accommodate ICE’s demands with regard to the production of class member

 information. Plaintiffs agreed to add the government’s requested Privacy Act language to the

 protective order and even engaged in a meet and confer with government counsel.

        17.     Attached hereto as Exhibit N is a true and correct copy of an e-mail dated

 December 10, 2018 from Naomi Beer to Juno Turner regarding the incomplete class list




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 production. This exhibit has been filed as a restricted document in accordance with D.C. Colo.

 L. Civ. R. 7.2.

        18.        Attached hereto as Exhibit O is a true and correct copy of a letter dated February

 15, 2019 from Juno Turner to Naomi Beer regarding Plaintiffs’ First and Second Sets of

 Requests for Production of Documents and Interrogatories.

 Dated: New York, New York
        March 18, 2019
                                                        Respectfully submitted,

                                                        By: /s/Juno Turner

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                                                        Alexander Hood
                                                        David Seligman

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 18, 2019, a copy of the foregoing document was filed

 electronically. Service of this filing will be made on all ECF-registered counsel by operation of

 the court’s electronic filing system. Parties may access this filing through the Court’s system.


                                              /s/ Juno Turner
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